                             Case 1:08-cr-00224-LJO-DLB Document 607 Filed 09/24/10 Page 1 of 1


 1
                                                   IN THE UNITED STATE DISTRICT COURT,
 2
                                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 3

 4

 5
     UNITED STATES OF AMERICA,                                     )   Case No. CR-08-00224-OWW
 6                                                                 )
                                      Plaintiff,                   )   AMENDED ORDER
 7                            vs.                                  )   EXONERATING BAIL
                                                                   )
 8
                                                                   )
     BRENT HOLLOWAY, et. al.,
 9                                                                 )
               Defendants.                                         )
10                                                                 )
                                                                   )
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12
                              Good cause appearing, it is ordered bail in defendant Brent Holloway’s case is hereby
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     exonerated. The Clerk of the Court is ordered to reconvey the real property—Deed of Trust
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15
     #17582 and Deed of Trust #s 66602 and 66603—which are posted as security for the bail, and to

16   return Brent Holloway’s passport to him forthwith.
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     IT IS SO ORDERED.
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21                         Dated:   September 24, 2010                         /s/ Oliver W. Wanger
                                                                       UNITED STATES DISTRICT JUDGE
22
     DEAC_Signature-END:




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